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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

IN RE: MARRIOTT INTERNATIONAL, INC.

CUSTOMER SECURITY

BREACH LITIGATION
MDL NO. 19-MD-2879
(JUDGE GRIMM)

REPORT AND RECOMMENDATION

THIS DOCUMENT RELATES TO THE
CONSUMER TRACT

I. The nature of the controversy

The latest controversy between Marriott and Plaintiffs in the
consumer track stems from Marriott’s desire to have a forensic scientist
scan the content of Plaintiffs’ digital devices.

Il. The warring protocols

Plaintiffs’ Protocol

The controversy began with Marriott’s Request for Production,
which demanded the following:
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3. The results of a forensic examination of the
Plaintiffs devices that connect to the internet and
contain electronically stored information,
including a list of the indicators of compromise, to
include malicious files, historical evidence of
malicious files, and events logs of any antivirus
software that may have removed the malware
prior to examination, as identified via a forensic
examination conducted in accordance with
industry-standard best practices by an expert
selected by Plaintiff, and using a methodology
and program to be agreed upon by Plaintiff and
Marriott.

Plaintiffs’ Exhibit A.

Plaintiffs objected (Plaintiffs’ Exhibit B). Plaintiffs explained that
the parties negotiated a compromise “whereby an expert would perform
a forensic examination of a random sample of Plaintiffs’ devices to
search for evidence of any attack and, if no such evidence was found, the
parties would move on.” Letter of March 2, 2021, at 1. Plaintiffs then
proposed a protocol for the forensic examination as follows:

Specifically, the protocol provided that the vendor
would create a forensic image of the selected
devices and run automated scans looking for
evidence of malware and viruses that could result
in data exfiltration (as Marriott’s request
specifically delineated). If such malware was
present, a “root cause” analysis would then be
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performed to determine when and how the
malware was installed and whether it could have
resulted in the exfiltration of sensitive
information.

Marriott’s Protocol

The intended examination by the forensic scientist

Marriott was dissatisfied and proposed a radically different
approach. Under this proposed approach, the forensic scientist would not
merely forensically examine the device to look for malware or viruses; it
would examine the actual content on the device.

Marriott’s demand led to further discussions, and under its most
recent suggested protocol, requested the examination of:

1. Evidence of malware and other viruses. (Ex. A
§ III.5.a.)

2. Web browsing history and bookmarked pages.
(Id. § III.5.b.)

3. Installed programs and applications. (Id. §
III.5.c.)

4, Identification of the location of personal
information on the devices, e.g., in emails, text
messages, or text files. (Id. §§ III.5.d-h & 1.)

5. Evidence of Plaintiffs’ information security
habits, such as wireless and Bluetooth
connectivity and security. (Id. §§ III.5.i-k.)
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Letter of March 8, 2021

The forensic scientist will conduct the examinations under
paragraphs 2, 3, 4, and 5 as follows:

1. Web browsing history and bookmarked pages:

I would recommend a remote-inspection approach
where Plaintiffs’ experts or other consultants
would host a remotely accessible platform where I
could remotely access and analyze web browsing
activity on Plaintiffs’ devices without the ability
to save or download any information. Any data
sought for production from Plaintiffs to Defendant
would be marked in the course of this analysis and
reviewed by Plaintiffs’ counsel for privilege prior
to production.

2. Installed programs and applications:

Programs and applications can store, process, or
transmit personal information and may have
allowed personal information to be either publicly
exposed or used for identity theft or fraud if those
areas of the devices or the applications themselves
were compromised. I understand Plaintiffs also
object to providing a full listing of applications
and programs installed on their devices. As such, I
would recommend a similar remote-inspection
approach.

3. Identification of the location of personal information on the
devices, e.g., in emails, text messages, or text files.
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c) Notes/Documents/Text Files

i. Documents in many different formats can
contain personal information. If the location in
which these documents were stored, or any other
platform, system, or application that stored or
transferred the documents was compromised, that
could have allowed personal information to be
either publicly exposed or used for identity theft
or fraud.

f) Chats & Messages

i. Individuals often share personal information
through chat and messaging platforms on their
devices and may have allowed this sensitive
information to be inadvertently publicly exposed
if those areas of the devices or the messaging
platforms themselves were compromised.

g) Email

i. Personal information in email accounts can be
sent to other people; email accounts can be
compromised, or locally stored email data can be
stolen if a device storing the data is compromised.
As such, any personal information stored in email
on the devices or in accounts associated with the
devices could have allowed personal information
to be either publicly exposed or used for identity
theft or fraud.
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5. Evidence of Plaintiffs’ information security habits, such as
wireless and Bluetooth connectivity and security.

h) Wireless Device Connectivity

i. Wireless devices used while traveling can be
subject to interception or access by third parties
when connecting to insecure or unofficial wireless
networks. Connection to insecure or otherwise
questionable wireless networks may have allowed
personal information to be either publicly exposed
or used for identity theft or fraud.

i) Bluetooth Data Transfer

i. Sharing or transferring information via
Bluetooth can result in inadvertent disclosure of
information to unknown third parties if the
security of Bluetooth connections are not
carefully verified before sending data. Even
accidental sharing of information with an
unknown third party can cause personal
information to be either publicly exposed or used
for identity theft or fraud.

Marriott’s Exhibit B, Declaration of Kevin T. Poindexter.

There is now, therefore, a quantum difference between the parties.
They have gone from a malware/Vvirus scan to a new demand that
Plaintiffs disclose to this scientist the content they have created on their
electronic devices in the areas I have just specified.

II. Recommendation
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I recommend that the Court reject Marriott’s proposed protocol
and direct the parties to use the Plaintiffs’ proposed protocol. I find that
Marriott’s protocol seeks inadmissible evidence and that even if that
evidence is admissible, the demand for the information Marriott seeks is
premature in certain respects and disproportionate in others.

The evidence sought by Marriott’s demand is
inadmissible.

When I first saw Marriott’s proposed protocol at a conference with
counsel, I told Marriott’s counsel that I was concerned that the demand
was based on an incorrect premise. In my view, its theory of the
admissibility of Plaintiffs’ use of the internet was flawed. Marriott was
trying to elicit evidence of Plaintiffs’ character or a character trait to
establish a propensity to be negligent in their use of the internet. Marriott
would then argue that it was Plaintiffs’ negligence that caused the
breach.

Unfortunately, counsel for both parties have ignored the question
that I find most troubling: Isn’t Marriott attempting to find evidence that
is not admissible based on the prohibition against Fed. R. Evid. 404(a)?
The Rule provides:

Evidence of a person’s character or character trait
is not admissible to prove that on a particular
occasion the person acted in accordance with the
character or trait.

Marriott is saying that Plaintiffs carelessly shared their email
addresses with their friends in unencrypted text messages or emails or
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provided their PPI! to providers of goods and services on the internet.
From that use, Marriott will ask the jury to find that the Plaintiffs were
equally careless and negligent in 2014—2018, and therefore the Plaintiffs,
not Marriott, caused the data breach.

However, this argument claims that Plaintiffs have what the Rule
calls “the character trait” of being negligent and careless, and therefore,
they must have been just as negligent and careless in 2014-2018 and
caused the breach. That, however, is precisely the inference the Rule
prohibits.

Take a simple car accident case. Driver A and driver B collide at
an intersection. A says B was negligent. At trial, A offers into evidence
B’s prior traffic violations for reckless driving to show that B is a
terrible driver. Assume that Judge Grimm used that hypothetical in his
Evidence class and asked a student whether the evidence of the
violations for reckless driving is admissible. If the student said yes, you
could offer the violations to show what kind of a driver B is, I am certain
the judge would flunk him on the spot because that is exactly what the
Rule prohibits. However, in my view, that is what Marriott is seeking to
do by drawing a propensity from a party’s prior behavior to prove that
she acted in accordance with that trait.”

 

'T will use this acronym as it is defined in the Second Amended Stipulated Protective Order, E.C.F. No. 531,
paragraph 1, (I). The lengthy definition is an appendix to this Report and Recommendation.

2? Edward J. Imwinkelried, An Evidentiary Paradox: Defending the Character Evidence Prohibition by Upholding a
Non-Character Theory of Logical Relevance, The Doctrine of Chances, The Social Science Research Network
Electronic Paper Collection, http://ssrn.com/abstrract=795725 at 7. The chart on that page is particularly helpful.
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Even if the evidence was admissible, the demands
made by Marriott’s protocol are premature and
disproportionate.

I also appreciate that Fed. R. Civ. P. 26(b)(1) provides that
“liJnformation within the scope of discovery need not be admissible in
evidence to be discoverable.” This does not mean that the court cannot
consider the inadmissibility of evidence in determining whether the
evidence is within the scope of discovery. Rather, the contrary is true.

The Advisory Committee notes accompanying the 2015
amendment of Fed. R. Civ. P. 26 indicated that the amendment was
intended to replace the troubling language in an earlier version of the
Rule that allowed the discovery of inadmissible evidence if its discovery
was reasonably calculated to lead to admissible evidence. Adv. Comm.
Notes to Rule 26 (2015). The Committee then stated,

The “reasonably calculated” phrase has continued
to create problems, however, and is removed by
these amendments. It is replaced by the direct
statement that “Information within this scope of
discovery need not be admissible in evidence to
be discoverable.” Discovery of nonprivileged
information not admissible remains available so
long as it is otherwise within the scope of
discovery.

Id.

F.R. Civ. P. 26(b)(1) then defines the scope of discovery as “any
nonprivileged matter that is relevant to any party’s claim or defense” and
proportional to the needs of the case. The latter determination requires
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balancing the factors in that Rule, including “the importance of the
discovery in resolving the issues.” Obviously, inadmissible evidence
cannot aid in the resolution of the issues in a case. It would be a strange
civil procedure system that would find the discovery of evidence to be
proportional to the needs of the case when that evidence will never see
the evidentiary light.

Nevertheless, I am obliged to be comprehensive in this Report and
allow for the possibility that Judge Grimm will disagree with my opinion
that Marriott seeks inadmissible evidence. I will therefore assume the
contrary—the evidence may be admissible—and indicate why Marriott’s
demands are premature and disproportionate.

Relevance to causality

Marriott argues that Plaintiffs’ present use of Plaintiffs’ digital
devices to interface with the internet may show that their profligate
disclosure of their PPI to others on the internet may permit the jury to
conclude that there was another cause for the breach that is the subject of
this case. Letter of March 8, 2021, at 3 (“Moreover, the less securely and
sensitively Plaintiffs treat their personal information—e.g., by not
securing it on their electronic devices and by providing to other third
parties—the less likely a juror is to believe Plaintiffs claim that Marriott
caused fraud or the risk of fraud.’’)

First, as to causation, Marriott does not explain how Plaintiffs’ use
of their digital devices in, let us say, 2020 could bear on the cause of a
breach that occurred no later than 2018. Thus, Marriott has to be once
again suggesting that Plaintiffs’ present use of the internet is evidence
of how they used the internet in 2014—2018. In that case, we are back to
the issue of the admissibility of character evidence.

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In any event, there is, at most, a theoretical possibility that, for
example, Plaintiffs’ indicating their names and credit card numbers to
buy something from an internet vendor or their visiting a particular
website might have caused a subsequent breach. But that possibility
cannot justify the extensive demand that Marriott makes to have a third
party see (1) every website Plaintiffs visited and (2) every text message
or email they sent that contained their PPI. As Justice Frankfurter once
put it, albeit in a different context: “Surely, this is to burn the house to
roast the pig.” Butler v. Michigan, 353 U.S. 383 (1957).

I should note that, in this context of proportionality, courts have
permitted such forensic screening, and Marriott indicates that Plaintiffs
agree to its legitimacy here. Letter of March 8, 2021, at 5. No matter
how those courts use the words “forensic screening,” I take them to
mean, in the context of this case, a scientific exploration to detect the
presence of a virus, malware, or any other tool designed to capture data
from a device without the knowledge of its owner. While that kind of
examination may or may not prove causality in any given case, it is light
years away from Marriott’s proposal that a third party read, for example,
every one of Plaintiffs’ email and text messages to search for their
disclosure of their PPI.

Prematurity of the demand

Marriott also argues that it should be able to show that Plaintiffs’
negligent use of the internet, thereby jeopardizing Plaintiffs’ PPI, would
contradict and weaken the claim that their PPI has a value. Thus,
Marriott asks why the jury should award Plaintiffs’ damages for the loss

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of their PPI when Plaintiffs have shown so little interest in safeguarding
it from being hacked and stolen. Letter of March 8, 2021, at 4.3

During our discovery conferences, Plaintiffs have explained that
they will make the information bearing on the loss of their PPI value
available to their experts. Those experts will, in turn, create a damages
model supporting the claim that there is a monetary value to their PPI
and that the breach has deprived them of that value.

Whether Plaintiffs’ PPI has value and the related questions of what
will or will not diminish that value will be addressed by Judge Grimm.

Judge Grimm has indicated that he intends to subject Plaintiffs’
experts’ opinions to rigorous analysis under Fed. R. Evid. 702 to the
point of hiring a technical expert to guide him on the science underlying
those opinions. His resolution of whether Plaintiffs’ experts can present
a damages model that attributes, for example, a value to Plaintiffs’ PPI
or their ability to use credit cards to make purchases‘ will clarify
whether evidence of Plaintiffs’ present use of their computers
diminishing the value of their PPI is admissible. Moreover, if Marriott
succeeds in having Judge Grimm reject the experts’ damage model, the
jury will never consider the value of Plaintiffs’ PPI. The issue of
whether Plaintiffs’ behavior on the internet diminished the value of their
PPI will be irrelevant if Judge Grimm rejects as unfounded Plaintiffs’
theory that Plaintiffs’ PPI has a monetary value.

 

3 “In general, the more third parties to whom a Plaintiff provides personal information, the less likely a juror is to
believe their claim that they consider this information highly sensitive or that they desire to protect the purported
value of that information. And if Plaintiffs do nothing to secure the devices that contain their personal information, a
reasonable juror could conclude that they do not, in fact, protect or value that information.” Letter of March 8, 2021.

4 See id. at 3.

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Marriott would counter that Plaintiffs could prevail, and their need
for the information would then ripen, but fact discovery will be closed. I
appreciate that and would recommend that Judge Grimm revisit (or
direct me to revisit) this issue after he has resolved whether he will
permit expert testimony on the Plaintiffs’ damage model. The
alternative—permitting the extraordinary disclosure to a third person of
every email or text message containing PPI the Plaintiffs wrote or every
website they visited when the evidence yielded by that disclosure may
never be relevant—makes no sense at all.

Relevance to injunctive relief

Marriott, noting that Plaintiffs seek injunctive relief, argues:

Plaintiffs also seek injunctive relief, arguing that
an injunction is necessary to prevent them from
injury due to further cyber-attacks. (See, e.g., id. J
352.) Whether the Court issues an injunction
should turn, in part, on the degree to which
Plaintiffs protect their own information. If, for
example, Plaintiffs do not protect their
information, then an injunction would do nothing
to prevent the harm they argue an injunction
would protect against.

Letter of March 8, 2021, at 8.

The Fourth Circuit, quoting a Supreme Court decision, has
_ identified the factors that bear on the award of injunctive relief as
follows:

Under the traditional equitable analysis, a plaintiff
seeking injunctive relief must demonstrate:

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(1) that it has suffered an irreparable injury; (2)
that remedies available at law, such as monetary
damages, are inadequate to compensate for that
injury; (3) that, considering the balance of
hardships between the plaintiff and defendant, a
remedy in equity is warranted; and (4) that the
public interest would not be disserved by a
permanent injunction. eBay Inc. v.
MercExchange, L.L.C., 547 U.S. 388, 391, 126 S.
Ct. 1837, 164 L. Ed. 2d 641 (2006)

S.A.S. Inst., Inc. v. World Programming Ltd., 952 F.3d 513, 527 (4th
Cir. 2020). See also Beacon Theatres v. Westover, 359 U.S. 500, 506—
507 (U.S. 1959) (“The basis of injunctive relief in the federal courts has
always been irreparable harm and inadequacy of legal remedies.”)

Plaintiffs’ use of their computers and their access is not one of
these factors, nor does it relate to any of them.

First, Plaintiffs’ negligent use of their devices does not render
whatever damages they win an inadequate remedy for the harm done
them by the breach. Additionally, the existence of those damages
militates against a finding that they are threatened with irreparable harm.
The Fourth Circuit has stated,

The possibility that adequate compensatory or
other corrective relief will be available at a later
date .. . weighs heavily against a claim

of irreparable harm. Sampson v. Murray, 415 U.S.
61, 90, 94 S. Ct. 937, 39 L. Ed. 2d 166 (1974). A
plaintiff must overcome the presumption that a
preliminary injunction will not issue when the
harm suffered can be remedied by money

damages at the time of judgment. Hughes

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Network Sys., Inc. v. Interdigital Commc’ns
Corp., 17 F.3d 691, 693 (4th Cir. 1994).

Di Biase v. S.P.X. Corp., 872 F.3d 224, 230 (4th Cir. 2017)

Moreover, the award of those damages means that Plaintiffs are
not threatened with irreparable harm post-verdict. “[G]enerally
“irreparable injury is suffered when monetary damages are difficult to
ascertain or are inadequate.’ Multi-Channel TV Cable Co. v.
Charlottesville Quality Cable Operating Co., 22 F.3d 546, 551 (4th Cir.
1994.) “Irreparable,” after all, means “impossible to rectify or repair.”
Compact Oxford English Dictionary 592 (2d rev. ed 2003). The
availability of the damages Plaintiffs may win indicates that the harm to
them from another breach is not irreparable.

Finally, there may be a profound public interest in how Marriott,
one of the largest hoteliers in the world, manages the PPI that its guests
make available to Marriott when they make a reservation or check into
their room. Whether that interest is served by an injunction ordering
Marriott to do or not do something to safeguard that PPI will require a
careful, scientific evaluation of the state of Marriott’s cybersecurity
protection system when the injunction is sought. That Plaintiffs are not
as careful as they should be in using the internet has nothing to do with
the Marriott cybersecurity system’s strength or weakness when Judge
Grimm may have to determine whether the public interest in
cybersecurity will be advanced or retarded by an injunction.

Therefore, I conclude that Marriott’s demand for the information
has nothing to do with Plaintiffs’ potential demand for injunctive relief,
even if that demand was not premature.

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III Conclusion

For the reasons stated in this Report, I recommend that the forensic
examination of Plaintiffs’ devices be done in accordance with Plaintiffs’
proposed protocol, Plaintiffs’ Exhibit A. I further recommend that all
Plaintiffs make their devices available as required by that protocol and
that the forensic examinations be conducted promptly. Under the
Plaintiffs’ protocol, they only need to deliver the devices to the forensic
scientist, and I see no unreasonable invasion of their privacy from a
search for malware and viruses.

 

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Dated: Yawk /5, gasnl

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